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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF FLORIDA
                                     Case No. 1:22-cv-24066-KMM
    GRACE, INC., et al.,
           Plaintiﬀs,
    v.
    CITY OF MIAMI,
           Defendant.
                                      /

                  PLAINTIFFS’ NOTICE OF SUPPLEMENTAL AUTHORITY

          Pursuant to Local Rule 7.8, Plaintiﬀs give notice of the following supplemental authority:

   Common Cause, Fla. v. Byrd, No. 4:22-cv-109-AW-MAF, 2024 WL 1308119, at *39–42, 45–47

   (N.D. Fla. Mar. 27, 2024) (three-judge court) (per curiam).

          \e decision is the district court’s ﬁndings of fact and conclusions of law in a challenge to

   Florida’s congressional map under a diﬀerent Fourteenth Amendment theory. But pertinent to this

   case, the decision (1) applies the one plaintiﬀ standing rule in a decision on the merits and (2) ﬁnds

   that a membership organization can establish standing to challenge electoral districts with similar

   evidence as in this case, including when the organization keeps conﬁdential the details of its

   membership information.

          \e decision supports Plaintiﬀs’ Proposed Findings of Fact and Conclusions of Law (ECF

   No. 181) ¶¶ 7, 26–28.


   Respectfully submitted March 29, 2024,

   /s/ Nicholas L.V. Warren

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